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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


LISA RICHLICH,                                               File No. 1:16-cv-1262

        Plaintiff,                                           Hon. Robert J. Jonker

vs.

SPECTRUM HEALTH SYSTEMS, INC.
a Michigan Not for Profit Corporation,

        Defendant.

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Attorneys for Plaintiff                              Attorneys for Defendant


                           STIPULATION OF DISMISSAL


        The parties, by their respective attorneys, hereby stipulate to dismiss this case with

prejudice and without costs to any party pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(ii).

                                        PINSKY, SMITH, FAYETTE & KENNEDY, LLP
                                        Attorneys for Plaintiff

Dated: August 22, 2018                  By:   /s/ H. Rhett Pinsky
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Dated: August 22, 2018                  By:    /s/ Brian J. Kilbane w/permission
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